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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION




KAMLESH B. AGRAWAL,
D.O.C. # C05100,

      Petitioner,

v.                                                       4:21cv346–WS/MAF

ALEJANDRO MAYORKAS,
et al.,

      Respondents.



               ORDER DISMISSING PETITIONER’S PETITION
                    FOR WRIT OF HABEAS CORPUS

      Before the court is the magistrate judge's amended report and

recommendation (ECF No. 10) docketed September 17, 2021. The magistrate

judge recommends that Petitioner's § 2241 petition for writ of habeas corpus be

dismissed for lack of jurisdiction. No objections to the report and recommendation

have been filed.

      The court having reviewed the matter, it is ORDERED:

      1. The magistrate judge's amended report and recommendation (ECF No. 10)
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is adopted and incorporated by reference in this order of the court.

      2. Petitioner's petition for writ of habeas corpus (ECF No. 1) is DISMISSED

for lack of subject matter jurisdiction.

      3. The clerk shall enter judgment stating: "Petitioner’s § 2241 petition for

writ of habeas corpus is DISMISSED.”

      4. The clerk shall close the case.

      DONE AND ORDERED this                27th   day of   October     , 2021.



                                  s/ William Stafford
                                  WILLIAM STAFFORD
                                  SENIOR UNITED STATES DISTRICT JUDGE
